Case 0:22-cv-60338-RAR Document 71 Entered on FLSD Docket 05/24/2023 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  HELENA URÁN BIDEGAIN in her individual              )
  capacity and in her capacity as the legal           )   Civil Action No. 0:22-cv-60338-RAR
  representative of the ESTATE OF CARLOS              )
  HORACIO URÁN ROJAS,                                 )
                                                      )
  XIOMARA URÁN, in her individual capacity,           )
                                                      )
  and MAIRÉE URÁN BIDEGAIN, in her                    )
  individual capacity,                                )
                                                      )
                 Plaintiffs,                          )
                                                      )
         v.                                           )
                                                      )
  LUIS ALFONSO PLAZAS VEGA,                           )
                                                      )
                 Defendant.                           )
                                                      )

              PLAINTIFFS’ RESPONSE TO DEFENDANT’S STATUS REPORT

         Plaintiff Helena Urán Bidegain, in her individual capacity and in her capacity as the legal

  representative of the estate of her deceased father, Carlos Horacio Urán Rojas, Plaintiff Xiomara

  Urán, and Plaintiff Mairée Urán Bidegain (collectively, “Plaintiffs”), respectfully submit this

  response to Defendant’s Status Report (“Status Report”), filed on May 23, 2023 (ECF No. 70),

  and state as follows:

         Following a hearing on May 17, 2023, the Court entered an order that day, directing

  Defendant to file on May 23, 2023 a Status Report limited to advising the Court on whether “(1)

  the Defendant intends to proceed pro se; (2) substitute counsel has been identified; or (3) counsel

  intends to remain in the case.” ECF No. 69. The Court indicated during the May 17 hearing that

  following that filing, the parties would each have the opportunity to submit scheduling and scope

  of discovery proposals.

         On May 23, 2023, Defendant filed a Status Report, purportedly seeking “clarification” on
Case 0:22-cv-60338-RAR Document 71 Entered on FLSD Docket 05/24/2023 Page 2 of 4




  the scope of discovery while providing no definitive answer on whether his current counsel intends

  to remain in the case.1       In his submission, Defendant’s counsel attempts to couple legal

  representation with the scope of discovery, which are distinct and separate issues. Having survived

  a motion to dismiss, Plaintiffs are entitled to full discovery under the Federal Rules of Civil

  Procedure and strongly disagree with the discovery limitations suggested in Defendant’s Status

  Report.

            For the following reasons, among others, on which Plaintiffs would like to elaborate in

  briefing on the scope of discovery, Plaintiffs vigorously oppose bifurcating discovery in the

  manner suggested and believe it would, among other things, (i) be unlikely to result in judicial

  economy; (ii) be likely to substantially prejudice Plaintiffs including by delaying aspects of

  discovery and extending the time for the ultimate resolution of this matter and affecting the

  availability of witnesses; (iii) impose significant and unnecessary burden and expense to both

  parties; and (iv) not be in the interests of justice. For example, a bifurcated discovery schedule

  would result in the same witnesses being deposed twice (including Defendant), as witnesses

  relevant to Defendant’s affirmative defenses are also relevant to the merits of Plaintiffs’ case.

            Plaintiffs plan on briefing these matters, including the appropriate scope of discovery and

  proposed case schedule, as originally discussed at the May 17 hearing, and to that end, respectfully

  request the Court to enter a briefing schedule in advance of a status conference where the parties

  may properly present their positions on these specific matters.




     1
        Despite the Court’s instruction to the parties at the May 17 hearing, Defendant continues to
  politicize this case by claiming that Plaintiffs “are connected to the ruling party in Colombia.”
  Defendant Status Report at 2 n.1. As before, Plaintiffs and their counsel will not engage in similar
  disparagement but note for the record their disagreement with all of Defendant’s
  characterizations of Plaintiffs and this case.




                                                    2
Case 0:22-cv-60338-RAR Document 71 Entered on FLSD Docket 05/24/2023 Page 3 of 4




  Dated: May 24, 2023                  Respectfully submitted,

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                                      3
Case 0:22-cv-60338-RAR Document 71 Entered on FLSD Docket 05/24/2023 Page 4 of 4




                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on May 24, 2023, a true and correct copy of the foregoing

  was served by the Court’s CM/ECF System on all counsel or parties of record on the Service List

  below.

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                                                                    /s/ Betty Chang Rowe
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                                                4
